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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

    v.                                                Case No. 1:21-cr-00582 (CRC)

 MICHAEL A. SUSSMANN,

                               Defendant.

 TECH EXECUTIVE-1,

                          Proposed Intervenor.



                        [PROPOSED] ORDER GRANTING
             NON-PARTY TECH EXECUTIVE-1’S MOTION TO INTERVENE

         Upon consideration of Non-party Tech Executive-1’s Motion to Intervene, it is this

______ day of ____________, 2022, hereby

         ORDERED that Tech Executive-1’s Motion to Intervene is granted.

         ORDERED that the Clerk shall docket Exhibit A to Tech Executive-1’s Motion to

Intervene as an opposition to the Government’s Motion to Compel the Production of Purported

Privileged Communications Withheld by Non-Party Entities for In Camera Inspection by the

Court. (Dkt. 64).

                                             ________________________________________
                                             THE HONORABLE CHRISTOPHER R. COOPER
                                             UNITED STATES DISTRICT COURT JUDGE
Cc: All Counsel
